Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.811 Filed 10/28/20 Page 1 of 28




                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ZMCC PROPERTIES, LLC,
a Michigan Limited Liability Company,

                    Plaintiff,

vs.                                            Case No. 3:19-cv-12428-RHC-EAS
                                               Hon. Robert H. Cleland
                                               Mag. Judge Elizabeth A. Stafford
PRIMEONE INSURANCE COMPANY,
a California corporation,

               Defendant.
______________________________________/

      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                  PURSUANT TO FED. R. CIV. P. 56

      NOW COMES Plaintiff, ZMCC PROPERTIES, LLC, by and through its

attorneys, FABIAN, SKLAR, KING & LISS, P.C., and for the reasons set forth more

fully in Plaintiff’s attached brief, Plaintiff respectfully requests this Honorable Court

to grant partial summary judgment in its favor pursuant to Fed. R. Civ. P. 56 and

enter an order declaring the following:

      (1)    that Endorsement #04 to the subject policy of insurance, which

mutually modified the parties’ contract to add Plaintiff as a Lender’s Loss Payable

loss payee to the policy of insurance, is enforceable;

      (2)    that Endorsements #05 and #06, which unilaterally modified the

parties’ contract and purportedly voided Endorsement #04 and added Plaintiff as a
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.812 Filed 10/28/20 Page 2 of 28




Contract of Sale loss payee to the policy of insurance, are invalid and unenforceable;

and,

       (3)   any further relief the Court deems equitable and just under the

circumstances.

       In accordance with E.D. Mich. L.R. 7.1(a), the undersigned counsel contacted

Defendant’s counsel on October 28, 2020 to explain the nature of this Motion and

its legal basis and request concurrence in the relief sought; however, Defendant did

not concur in the relief requested.

                                 Respectfully submitted,

                                 /s/ Jason J. Liss
                                 Jason J. Liss (P48742)
                                 Fabian, Sklar, King & Liss, P.C.
                                 Attorneys for Plaintiff
                                 33450 W. Twelve Mile Road
                                 Farmington Hills, MI 48331
                                 (248) 553-2000
                                 jliss@fabiansklar.com
Dated: October 28, 2020
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.813 Filed 10/28/20 Page 3 of 28




                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

ZMCC PROPERTIES, LLC,
a Michigan Limited Liability Company,

                 Plaintiff,

vs.                                      Case No. 3:19-cv-12428-RHC-EAS
                                         Hon. Robert H. Cleland
                                         Mag. Judge Elizabeth A. Stafford
PRIMEONE INSURANCE COMPANY,
a California corporation,

               Defendant.
______________________________________/

                      BRIEF IN SUPPORT OF
      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                  PURSUANT TO FED. R. CIV. P. 56
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.814 Filed 10/28/20 Page 4 of 28




             CONCISE STATEMENT OF ISSUES PRESENTED

      1.     Whether Endorsement #04, which mutually modified the parties’

contract to add Plaintiff as a Lender’s Loss Payable loss payee to the policy of

insurance, is enforceable.

             Plaintiff answers “Yes”

             Defendant answers “No”

             The court should answer “Yes”



      2.     Whether Endorsements #05 and #06, which are not signed by Plaintiff

and attempted to unilaterally modify the parties’ contract to void Endorsement #04

and to add Plaintiff as a Contract of Sale loss payee to the policy of insurance, are

invalid and unenforceable.

             Plaintiff answers “Yes”

             Defendant answers “No”

             The court should answer “Yes”
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.815 Filed 10/28/20 Page 5 of 28




        CONTROLLING OR MOST APPROPRIATE AUTHORITY
                  FOR THE RELIEF SOUGHT

Quality Prod. & Concepts Co. v. Nagel Precision, Inc., 469 Mich. 362, 364, 666
N.W.2d 251, 253 (2003)

MCL 566.1
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.816 Filed 10/28/20 Page 6 of 28




      I.     INTRODUCTION

      At issue in this motion is the validity of two modifications to the Loss Payable

Provisions of the parties’ insurance contract. The first modification at issue is an

endorsement adding Plaintiff as a Lender’s Loss Payable loss payee to the policy of

insurance.   The Lender’s Loss Payable clause of the policy’s Loss Payable

Provisions operates as a standard mortgage clause and protects the loss payee’s

independent right to payment from the named insured’s misconduct.                This

modification was mutual, in writing and signed by Defendant. For these reasons, it

is enforceable.

      Several months after issuing the above endorsement, as Defendant was

preparing to deny the named insured’s claim, Defendant unilaterally attempted to

strip Plaintiff of its Lender’s Loss Payable coverage. Hours before denying the

named insured’s claim and accusing its principal of misconduct, Defendant issued

endorsements purporting to void, replace and reduce Plaintiff’s Lender’s Loss

Payable coverage with coverage as a Contract of Sale loss payee.

      Unlike the coverage afforded under the Lender’s Loss Payable clause, a

Contract of Sale loss payee’s right to payment is derivative of the named insured’s

claim. By stripping Plaintiff of its Lender’s Loss Payable coverage in conjunction

with denying the named insured’s claim, Defendant was manifestly attempting to

extinguish its liability to Plaintiff.   However, bedrock principles of contract


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Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.817 Filed 10/28/20 Page 7 of 28




formation prohibit the validity of unilateral modifications. Moreover, applicable

statutory law precludes the enforceability of modifications unsupported by

consideration unless signed by the party against whom it is to be enforced.

Defendant’s modification purporting to strip and replace Plaintiff’s Lender’s Loss

Payable coverage was made without consideration and was not signed by Plaintiff.

Therefore, in addition to being unilateral, it is unenforceable on these grounds.

      II.    STATEMENT OF MATERIAL FACTS

      1.     On March 28, 2016, ZMCC, Inc. and Plaintiff ZMCC Properties, LLC

entered into a sales agreement to sell the business and building located at 19326

Conant in Detroit, MI to Edition BC Owners, LLC (“Edition”) and Conant Property

Management, LLC (“Conant”), respectively, for a total of $1.37 million.

(Agreement of Sale Personal Property and Real Estate, Appdx Ex. 1).

      2.     The deal closed on October 17, 2016, with Edition’s execution of a

$690,000 Promissory Note and Security Agreement for the purchase of the business

and with Conant’s execution of a $600,000 land contract and escrow of an executed

Warranty Deed for the purchase of the building. (Promissory Note and Security

Agreement, Appdx Ex. 2; Land Contract, Appdx Ex. 3; and, Executed Warranty

Deed and Escrow Agreement, Appdx Ex. 4).

      3.     The Land Contract between Plaintiff and Conant contains provisions

that obligated Conant, as purchaser, and Edition, as guarantor, to insure the building


                                          2
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.818 Filed 10/28/20 Page 8 of 28




for the benefit of Plaintiff:

              Premises Insured: “Purchaser Agrees ... at all times to keep the
              buildings now or hereafter on the land insured against loss and
              damage, in manner and to an amount approved by Seller ... Seller
              shall be named as an additional insured on the Insurance policy.”
              (Appdx Ex. 3, pp. 2-3);

              Disposition of Insurance Proceeds: “The Parties agree ... that
              during the existence of this Contract, any proceeds received from
              a hazard insurance policy covering the land shall first be used to
              repair the damage and restore the property, with the balance of
              such proceeds, if any, being distributed to Seller and Purchaser,
              as their interests may appear.” (Appdx Ex. 3, p. 3); and,

              Additional Security: “The parties agree ... Additional security
              shall include the personal guarantee of EDITION BC OWNERS,
              LLC, assignment of rents, cross collateral and cross default
              provision in the Land Contract and the documents securing the
              business debt.” (Appdx Ex. 3, pp. 4-5).

       4.     On October 10, 2016, the Bencivenga Insurance Agency, Inc. /

Wholesale Insurance Agency (“the Agent”), acting on Edition’s behalf, emailed an

unsigned Acord Commercial Insurance Application to Defendant PrimeOne

Insurance Company (“PrimeOne”) requesting a quote for Property and Commercial

General Liability insurance. (2016 Request for Quote, Appdx Ex. 5).

       5.     The unsigned Acord application submitted on that date consisted of two

separate and distinct sections: (1) Property Section and (2) Commercial General




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Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.819 Filed 10/28/20 Page 9 of 28




Liability Section.1 (Id.)

      6.     ZMCC Properties was identified as an “Additional Interest” in both

sections:

             (a)    as a “Mortgagee” and “Loss Payee” in the Property Section; and,

             (b)    as an “Additional Insured” and “Loss Payee” in the Commercial
                    General Liability Section. (Id.)

      7.     PrimeOne responded with a Quote to Bind, which the Agent signed and

returned on October 13, 2016, together with a signed copy of the Applicant

Information Section that was referenced but omitted from the Agent’s request for a

quote. (2016 Application for Insurance, Appdx Ex. 6).

      8.     The signed Applicant Information Section identified Plaintiff’s

“Additional Interest” as “Additional Insured” and “Loss Payee.” (Id.)

      9.     The signed Applicant Information Section referenced “Commercial

General Liability” and “Property” as “Sections Attached,” though neither were

signed and returned by the Agent’s October 13, 2016 request to bind coverage. (Id.)

      10.    Shortly after receiving the Agent’s request to bind, Defendant issued

Commercial Package Policy no. PPK0002242-16, naming Edition BC Owners, LLC

as the insured and insuring, inter alia, the building located at 19326 Conant Street



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      The Agent’s email indicates an Applicant Information Section was also
attached, but the attachments to the actual email instead contain a duplicate copy of
the Commercial General Liability Section.

                                         4
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.820 Filed 10/28/20 Page 10 of 28




in Detroit, Michigan (“the Building”) from October 13, 2016 to October 13, 2017.

(2016-2017 Insurance Policy Declarations and Endorsements, Appdx Ex. 7).

      11.    The 2016-2017 policy included endorsements insuring Plaintiff as

“Additional Insured” under the Commercial General Liability (CGL) coverage form

and as “Loss Payable” under the Property coverage form. (Id.)

      12.    The following year, on October 11, 2017, Defendant sent the Agent a

Revised Renewal Quote, which indicated an Acord application would not be

acceptable, and a signed “PrimeOne Application” would be required. (PrimeOne

Insurance Renewal Quote, Appdx Ex. 8).

      13.    The following day, the Agent returned a signed copy of the quote,

together with signed copies of PrimeOne’s “Package Application” and “Liquor

Liability Application.” (2017 Insurance Applications, Appdx Ex. 9).

      14.    The Agent failed to identify Plaintiff as having an “Additional Interest”

in the Package application. (Id.)

      15.    Defendant thereafter issued Commercial Package Policy no.

PPK0001364-17, which did not insure Plaintiff’s interest in the covered property

under either the Property or Commercial General Liability coverages. (2017-2018

Insurance Policy Declarations, Appdx Ex. 10).

      16.    On March 7, 2018, the Building at 19326 Conant was damaged by an

incendiary fire. (ECF No. 28, PageID.732, ¶17).


                                          5
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.821 Filed 10/28/20 Page 11 of 28




      17.    On March 15, 2018, a week after the subject fire, the Agent sent an

email to Defendant requesting that Plaintiff be added as a “Mortgagee” and “Loss

Payee” to the 2017-2018 renewal policy because “[t]hey were on the 2016 -2017

policy but was [sic] missed when the policy renewed.” (03/15/18 Emails between

Agent and PrimeOne, Appdx Ex. 11).

      18.    After being advised the request would be placed under review, the

Agent clarified that “ZMCC Properties LLC is a mortgagee (they have a land

contract) and a loss payee.” (Id.)

      19.    On March 16, 2018, Defendant agreed to add Plaintiff to the policy as

“Loss Payee/Mortgagee as requested” and issued Endorsement - #01, adding

Plaintiff as a “Mortgagee” to the CGL coverage, and Endorsement - #02, adding

ZMCC as “Loss Payable” to the Property coverage. (03/16/18 PrimeOne Insurance

email to Agent, Appdx Ex. 12).

      20.    Nearly a year later, on March 1 and again on March 15, 2019, Plaintiff

notified Defendant of its intent to pursue a claim under the insurance policy’s

mortgage clause. (03/01/19 Email and 03/15/19 Text Message to Defendant’s

counsel, Appdx Ex. 13).

      21.    On or about March 18, 2019, the parties’ respective counsel discussed

Plaintiff’s claim and status on the policy and Defendant’s counsel expressed his

belief that Defendant intended to treat Plaintiff as a mortgagee under the policy for


                                         6
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.822 Filed 10/28/20 Page 12 of 28




purposes of the claim. (Plaintiff’s counsel 06/13/19 correspondence to Defendant’s

counsel, Appdx 14).

      22.   Defendant’s internal emails from March 9, 2019 and March 26, 2019

confirm that Defendant did indeed intend to treat Plaintiff as a mortgagee for

purposes of the claim. (03/08/19 and 03/26/19 PrimeOne Internal Emails, Appdx

Ex. 15).

      23.   On March 26, 2019, Defendant issued Endorsement - #04, modifying

the parties’ contract to add Plaintiff as a Lender’s Loss Payable under the Building

and Personal Property Coverage Form from the renewal policy’s date of inception.

(PrimeOne Insurance Endorsement - #04, Appdx Ex. 16).

      23.   Two months later, on May 24, 2019, Defendant’s President of

Operations sent an email to the Agent affirming Plaintiff’s coverage as a Lender’s

Loss Payable loss payee. (05/24/19 PrimeOne Email to Agent, Appdx Ex. 17).

      24.   Two weeks later, on June 12, 2019, Defendant made the decision to

deny the named insured’s, Edition BC Owners, LLC’s, claim. (06/11/19 and

06/12/19 PrimeOne Internal Emails, Appdx Ex. 18).

      25.   Hours before authorizing the denial of the named insured’s claim,

Defendant’s President of Operations authorized the issuance of Endorsements #05

and #06, which purported to void Endorsement - #04 and add Plaintiff as a Contract

of Sale loss payee to the policy of insurance’s Loss Payable Provisions. (Id.;


                                         7
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.823 Filed 10/28/20 Page 13 of 28




Endorsement - #05, Appdx Ex. 19; Endorsement - #06, Appdx Ex. 20).

      26.    The next day, on June 13, 2019, Defendant issued a letter denying the

named insured’s claim and accusing Edition BC Owners, LLC’s sole member of

arson and fraud. (Claim Denial Letter, Appdx Ex. 21).

      27.    On June 18, 2019, Plaintiff demanded payment under the Lender’s Loss

Payable clause of the policy of insurance’s Loss Payable Provisions, which

Defendant, through its counsel, refused on June 24, 2019 based on its unilateral

determination that Plaintiff’s coverage as a Lender’s Loss Payable loss payee should

be replaced with coverage as a Contract of Sale loss payee. (Plaintiff counsel’s

06/18/19 correspondence to Defendant’s counsel, Appdx Ex. 22; Defendant

counsel’s 06/24/19 correspondence to Plaintiff’s counsel, Appdx Ex. 23).

      II.    LAW AND ARGUMENT

      Plaintiff brings this motion pursuant to Fed. R. Civ. P. 56 seeking to enforce

Endorsement #04, which was a mutual modification of the parties’ contract that

added Plaintiff as a Lender’s Loss Payable loss payee to the Loss Payable Provisions

of the subject policy of insurance. The undisputed material facts further establish

that Endorsements #05 and #06, which purportedly voided Endorsement #04 and

added Plaintiff as a Contract of Sale loss payee to the policy of insurance, were

issued without Plaintiff’s knowledge or consent and were unilateral modifications to

the parties’ contract, unsigned by Plaintiff, that are invalid and unenforceable.


                                          8
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.824 Filed 10/28/20 Page 14 of 28




      Because the material facts are not in dispute, the Court may rule as a matter

of law. Summary judgment is appropriate if the moving party demonstrates there is

“no genuine issue as to any material fact and the moving party is entitled to a

judgment as a matter of law.” Fed. R. Civ. P. 56(c). There is no genuine issue of

material fact when “the record taken as a whole could not lead a rational trier of fact

to find for the non-moving party.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986).

      A.     Endorsement #04 is the product of the parties’ mutual modification
             of their insurance contract and is enforceable.

      It is a fundamental principle of contract law that the parties are free to

mutually waive or modify their contract. Quality Prod. & Concepts Co. v. Nagel

Precision, Inc., 469 Mich. 362, 364, 666 N.W.2d 251, 253 (2003). The party seeking

to enforce a modification to the parties’ contract must establish by clear and

convincing evidence the existence of a written or oral agreement to modify the

contract, or affirmative conduct that establishes the mutual agreement to the

modification. Id. at 364-365. A mutual modification that is in writing and signed

by the party against whom it is to be enforced requires no consideration:

      An agreement hereafter made to change or modify, or to discharge in
      whole or in part, any contract, obligation, or lease, or any mortgage or
      other security interest in personal or real property, shall not be invalid
      because of the absence of consideration: Provided, That the agreement
      changing, modifying, or discharging such contract, obligation, lease,
      mortgage or security interest shall not be valid or binding unless it shall


                                          9
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.825 Filed 10/28/20 Page 15 of 28




      be in writing and signed by the party against whom it is sought to
      enforce the change, modification, or discharge.

MCL 566.1.

      In this case, a week after the fire loss giving rise to this action, the insurance

agent who procured the policy of insurance recognized that Plaintiff had been

omitted mistakenly from the 2017-2018 renewal policy and requested that Plaintiff

be added to the policy, from inception, as a “mortgagee” and “loss payee”:




                                        ***




                                          10
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.826 Filed 10/28/20 Page 16 of 28




(See Appdx Ex. 11).

      Defendant’s President of Operations, Stephen Greenfield, who authorized the

request, has testified he understood the Agent was requesting that Plaintiff be added

as a “mortgagee” and “loss payee” to the policy’s Property coverage, not the policy’s

Commercial General Liability (CGL) coverage:

      Q.     You understood at this point that a loss on the property side had
             occurred, and there was a request from the agent to put ZMCC
             Properties back on, and she says as mortgagee and loss payee.
             That's what she states, correct?

      A.     Correct.

      Q.     Any reason to believe that she's asking anything about CGL at
             this point?

      A.     No.
                                       ***
      Q.     Okay. In the context of this email, though, you understand that
             the lady from the agency is saying that she would like to have
             ZMCC Properties endorsed onto the property coverage as a
             mortgagee and a loss payee, correct?

      A.     For ZMCC, right.

(S. Greenfield dep., pp. 81:10-81:18, 82:18-82:23, Appdx Ex. 24). Unfortunately,

that is not what happened. Contrary to what was requested, Defendant endorsed

Plaintiff onto the Property coverage as a “Loss Payable” and onto the CGL coverage

as a “Mortgagee.” (See Appdx Ex. 7).

      Mr. Greenfield acknowledged that endorsing Plaintiff as a “mortgagee” on the

CGL coverage was an error:

                                         11
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.827 Filed 10/28/20 Page 17 of 28




      Q.      So in any case, if the intent was to give them what they had
              before, this is a different form. You didn't give them the same
              form. Why is that?

      A.      That was obviously in error. So that would be up to the agent
              to say, oops, sorry, used the wrong form. You should be
              adding what was on the 2016 policy.

       Q.     Unless that's not what the agent was actually requesting, correct?

      A.      Unless it wasn't what the agent was requesting.

      Q.      Right.

      A.      But still the onus is on him to say no, no, no, I didn’t want the
              CGL mortgagee version. I wanted last year’s or I wanted
              this to pertain to property coverage.

(S. Greenfield dep., pp. 91:23- 92:11, Appdx Ex. 24). Unfortunately, the Agent did

not catch the error.

      A year later, in March 2019, as Defendant’s investigation of the named

insured’s claim was proceeding, Plaintiff’s counsel notified Defendant that Plaintiff

was making a claim under the policy’s mortgage clause. (See Appdx Ex. 13).

Defendant’s contemporaneous internal emails document Defendant’s recognition of

the errors made in writing Plaintiff’s coverage and on March 26, 2019, and consistent

with Plaintiff’s request to make a claim under the policy of insurance’s mortgage

clause, Mr. Greenfield authorized Defendant’s underwriter to issue an endorsement

adding Plaintiff as a Lender’s Loss Payable under the policy’s Loss Payable

Provisions:


                                          12
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.828 Filed 10/28/20 Page 18 of 28




                                    ***




                                    ***




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Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.829 Filed 10/28/20 Page 19 of 28




(See Appdx Ex. 15).
                                       ***




(See Appdx Ex. 16).

      Two months later, on May 26, 2019, in an email to the Agent, Mr. Greenfield

recounted the inaccuracies in the renewal policy and affirmed Defendant’s intent to

                                        14
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.830 Filed 10/28/20 Page 20 of 28




cover Plaintiff’s interest as a Lender’s Loss Payable loss payee:




(See Appdx Ex. 17).

      The above communications, documents and testimony are indisputable and

satisfy Plaintiff’s burden of presenting clear and convincing evidence of the parties’

mutual agreement to modify the 2017-2018 renewal policy of insurance to cover

Plaintiff’s interest in the covered property under the Lender’s Loss Payable clause

of the contract’s Loss Payable Provisions. Because Endorsement #04 was the

product of a mutual modification, it is valid and enforceable. See Quality Prod. &

Concepts Co., supra.


                                         15
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.831 Filed 10/28/20 Page 21 of 28




       B.    Endorsements #05 and #06 are the product of Defendant’s
             unilateral modification of the parties’ insurance contract and are
             therefore invalid and unenforceable.

       Unlike mutual modification, “the principle of freedom to contract does not

permit a party unilaterally to alter the original contract.” Quality Prod. & Concepts

Co., supra., at 364. A unilateral modification fails because it lacks mutuality. Id. at

373.

       In the present case, after issuing Endorsement #04 on March 27, 2019, and

affirming its intent in its May 24, 2019 email to the Agent to cover Plaintiff’s interest

in the covered property under the Lender’s Loss Payable clause of the Loss Payable

Provisions of the policy of insurance, Defendant made an abrupt about-face weeks

later and issued Endorsements #05 and #06 on June 12, 2019. Endorsement #05

“flat canceled” Endorsement #04 and purported to void Plaintiff’s Lender’s Loss

Payable coverage. (See Appdx Ex. 18). In its place, Defendant issued Endorsement

#06 purporting to add Plaintiff as a Contract of Sale loss payee to the Building and

Personal Property Coverage Form of the policy of insurance. (See Ex. 20).

       Defendant’s contemporaneous internal emails and Mr. Greenfield’s testimony

establish that Defendant’s issuance of Endorsements #05 and #06 was unilateral.

The decision involved only Defendant’s employees and counsel, and was made

without Plaintiff’s knowledge or consent:




                                           16
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.832 Filed 10/28/20 Page 22 of 28




                                    ***




                                    ***




(Appdx Ex. 18, redactions made by Defendant).


                                     17
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.833 Filed 10/28/20 Page 23 of 28




      Mr. Greenfield’s testimony confirms that the decision to issue Endorsements

#05 and #06 was made unilaterally by Defendant:

      Q.    Okay. So do you recall the specifics of any conversation that you
            had with Tracey in that time frame of June 11th when he
            requested to talk to you about it, about factually what was
            different about your understanding of the relationship between
            the parties?

      A.    I don’t – I don’t recall enough about the specific, you know,
            discussion per se.

      Q.    Okay. Whatever it was being discussed at that time, ultimately
            a conclusion was reached that the endorsements -- additional
            endorsements should be issued, correct?

      A.    Correct, yeah. Like I say, I only remember that it ended up
            that there was a determination that the -- that it would be
            best defined by ZMCC contract sale, not the loss payee,
            which was previously, so that's the purpose for having
            canceled the endorsement for –
                                       ***
      Q.    So how was it that you arrived at the conclusion that that was the
            appropriate coverage for the relationship of the parties?

      A.    Just based on discussion among Tracey, Dave Berkal, and
            myself.

(S. Greenfield dep., pp. 112:14-113:5, 113:13-113:21, Appdx Ex. 24).

      Mr. Greenfield denied that this unilateral modification had any connection to

its decision to deny the named insured’s claim:

      Q.    Did your consideration of how to endorse the policy correctly
            have anything to do with Primeone's exposure to liability on
            additions arising from Edition's claim?

      A.    No.

                                        18
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.834 Filed 10/28/20 Page 24 of 28




(S. Greenfield dep., p. 115:12-115:16, Appdx Ex. 24). However, within hours of

instructing Defendant’s underwriter to issue Endorsements #05 and #06 (which, if

enforceable, would eliminate Plaintiff’s independent right to payment regardless of

the named insured’s alleged misconduct), Mr. Greenfield authorized the denial of

the named insured’s claim: 2




                                       ***




(See Appdx Ex. 18, redaction made by Defendant). After learning that Defendant

had denied the named insured’s claim, Plaintiff sought assurances that its claim as



2
      The proximity of these two acts undermine the credibility of Mr. Greenfield’s
testimony that Defendant’s unilateral modification of the parties’ contract had any
connection to Defendant’s denial of the named insured’s claim.

                                        19
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.835 Filed 10/28/20 Page 25 of 28




mortgagee would be paid and protested Defendant’s issuance of Endorsements #05

and #06. (See Appdx Ex. 22).

      The above evidence establishes that Defendant’s issuance of Endorsements

#05 and #06 was a unilateral attempt to modify the parties’ contract to reduce

Plaintiff’s coverage and avoid liability after the named insured’s claim was formally

denied. In order to enforce Endorsements #05 and #06, Defendant has the burden

of proving by clear and convincing evidence that Plaintiff consented to these

endorsements. This evidence does not exist. Further, since the Endorsements #05

and #06 were issued without consideration, they are invalid and unenforceable

pursuant to MCL 566.1 because Plaintiff did not sign them.

      C.     Unlike the Contract of Sale clause, the Lender’s Loss Payable
             clause correctly expressly describes Plaintiff’s legal interest in the
             covered property.

      Although not dispositive as to enforceability of the subject modifications, it is

worth observing that Defendant’s purported rationale for making its unilateral

modification was because the Contract of Sale clause “best defined” the legal

relationship between Plaintiff and the named insured. (See S. Greenfield dep., p.

113:1-113:5, Appdx Ex. 24). It does not.

      The Lender’s Loss Payable provision expressly states that it is applicable to a

creditor whose interest in Covered Property is established by a written instrument

such as a contract for deed:


                                         20
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.836 Filed 10/28/20 Page 26 of 28




      C.     LENDER’S LOSS PAYABLE
             1.  The Loss Payee shown in the Schedule or in the
                 Declarations is a creditor, including a mortgageholder or
                 trustee, whose interest in Covered Property is
                 established by such written instrument as:
                 a.     Warehouse receipts;
                 b.     A contract for deed;
                 c.     Bills of lading;
                 d.     Financing statements; or
                 e.     Mortgages, deeds of trust, or security agreements.

(Policy Excerpt - Lender’s Loss Payable Clause, emphasis added, Appdx Ex. 25).

      Plaintiff’s land contract with the named insured’s landlord, Conant Property

Management, LLC, satisfies the Lender’s Loss Payable clause’s description that the

loss payee’s interest in the covered property is established by a written instrument,

specifically a contract for deed. Additionally, because Edition BC Owners, LLC,

personally guaranteed the terms of the land contract and established a creditor/debtor

relationship, the description that the loss payee is a creditor of the name insured is

likewise satisfied.

      In contrast, the Contract of Sale clause, by its terms, fails to accurately

describe the legal relationship between Plaintiff and the named insured. The

Contract of Sale clause contemplates that the named insured and the loss payee have

entered into a contract for the sale of covered property:

      D.     CONTRACT OF SALE
             1.  The Loss Payee shown in the Schedule or in the
                 Declarations is a person or organization you have entered


                                         21
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.837 Filed 10/28/20 Page 27 of 28




                   a contract with for the sale of Covered Property.

             2.    For Covered Property in which both you and the Loss
                   Payee have an insurable interest we will:
                   a.     Adjust losses with you; and

                   b.     Pay any claim for loss or damage jointly to you and
                          the Loss Payee, as interests may appear.

             3.    The following is added to the OTHER INSURANCE
                   Condition:

                   For Covered Property that is the subject of a contract of
                   sale, the word “you” include the Loss Payee.

(Policy Excerpt – Contract of Sale Loss Payable Clause, emphasis added, Appdx Ex.

26). However, Plaintiff never contracted to sell the real property to the named

insured. The land contract was between Plaintiff and Conant Property Management,

LLC. The named insured did not purchase the covered property, but merely

guaranteed the debt.

      III.   CONCLUSION

      The legal issue presented in this motion is a simple one: mutual modifications

to a contract are valid and enforceable, whereas unilateral modifications are not.

Additionally, regardless of its mutuality, a modification that lacks consideration, is

invalid unless signed by the party against whom it is sought to be enforced. Plaintiff

has presented incontrovertible documentary evidence that satisfies Plaintiff’s burden

of proving by clear and convincing evidence that Endorsement #04 was the product

of a mutual modification and, therefore, enforceable. In contrast, there is no


                                         22
Case 3:19-cv-12428-RHC-EAS ECF No. 32, PageID.838 Filed 10/28/20 Page 28 of 28




evidence that Defendant can produce to support the validity of Endorsements #05

and #06. Based on these undisputed facts and law, Plaintiff respectfully requests the

Court to grant Plaintiff’s motion for partial summary judgment and enter an order

declaring the enforceability of Endorsement #04 and the invalidity of Endorsements

#05 and #06, and award any such further relief the Court deems equitable and just

under the circumstances.

                                Respectfully submitted,

                                /s/ Jason J. Liss
                                Jason J. Liss (P48742)
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Dated: October 28, 2020



                           CERTFICATE OF SERVICE

Susan Harwell-Okerstrom certifies and states that on October 28, 2020, I
electronically filed the foregoing document with the Clerk of the Court using the
United States District Court’s CM/ECF filing system, which will send notification
of such filing to the following: David J. Berkal (dberkal@mcbpc.com).

                                       /s/Susan E. Harwell-Okerstrom_
                                       Susan E. Harwell-Okerstrom
                                       Paralegal
                                       sharwell@fabiansklar.com




                                         23
